 

Case 3:19-mj-01015-BT Docu led aiog/ap Page I oh Ragéeiba >
AO 91 (Rev. 11/11) Criminal Complaint rr s NORTHERN DISTRICT OF TEXAS

UNITED STATES DISTRICT CQURT |

for the

 

 

Northern District of Texas |

RX, US. DISTRICT COU}
United States of America a U TSP

V.

 

  

 

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Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of September 21, 2019 in the county of Dallas in the
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 18, United States Code Carjacking Resulting In Serious Bodily Injury

Section 2119(2)

This criminal complaint is based on these facts:

See Attached Affidavit of FBI SA Daniel Gimenez

O Continued on the attached sheet.

AVE E

 

Complainant's signature

Daniel Gimenez, Special Agent, FBI

 

Printed name and title

Sworn to before me and signed in my presence.

Date: 11/08/2019 CNY , a

Judge's ai
City and state: Dallas, Texas Rebecca Rutherford, US-Magistrate Judge

Printed name and title
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AFFIDAVIT

I, Daniel Gimenez, a Special Agent (SA) with the Federal Bureau of Investigation

(FBI), being duly sworn, depose and state as follows:
INTRODUCTION

Your affiant, Daniel Gimenez, is a Special Agent with the FBI assigned to the
Dallas Violent Crimes Task Force (DVCTF) since November of 2014. As part of the
DVCTF, your affiant investigates federal violent crimes, including commercial robberies,
extortions, bank robberies, kidnappings, carjackings, and organized crime. This affidavit
is made in support of an arrest warrant—via criminal complaint—against David Cadena
(Hispanic Male/DOB XX/XX/1994) for carjacking, in violation of 18 U.S.C. § 2119(2).
This affidavit is based on my personal knowledge as well as on information provided to
me by other law enforcement officers and other individuals who have participated in this
investigation. Since this affidavit is being submitted for the limited purpose of
establishing probable cause for a criminal complaint, I have not included all facts known
to me concerning this investigation. Based on the facts set forth below, there is probable
cause to believe that on or about September 21, 2019, in the Dallas Division of the
Northern District of Texas, David Cadena, with intent to cause death and serious bodily
harm, did knowingly and unlawfully take, and attempt to take, a motor vehicle, to-wit: a
2015 Toyota Carolla, bearing vehicle identification number (VIN)
SYFBURHE2FP244863 and Texas license plate number KKH2772, that had been

transported, shipped, and received in interstate and foreign commerce, in the presence of
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another, namely, J.K., by force and violence and by intimidation, resulting in serious

bodily injury that caused extreme physical pain, protracted and obvious disfigurement,

and protracted loss and impairment of the function of a bodily member to J.K.
FACTS ESTABLISHING PROBABLE CAUSE

On Saturday, September 21, 2019 at about 3:10 a.m., Cadena violently carjacked
J.K., by assaulting her with a fire extinguisher and taking her vehicle without her consent.
J.K. sustained serious bodily injury as a result of the carjacking. This offense occurred at
2013 Jackson Street, Dallas, Dallas County, Texas, which is in the Dallas Division of the
Northern District of Texas.

J.K. had parked her motor vehicle, a 2015 Toyota Carolla, (VIN)
SYFBURHE2FP244863 and Texas license plate number KKH2772, in the parking
garage owned by the Statler Dallas, Curio Collection by Hilton. J.K. went to the
Harwood Tavern at 333 South Harwood Street with three co-workers and at about 2:30
a.m. J.K. and E.M., a co-worker, walked to the parking garage. J.K. and E.M. went into
the elevator. J.K. then went to her 2015 Toyota Carolla and Cadena walked into the
parking garage and took a fire extinguisher off a concrete pillar. Cadena sprayed the fire
extinguisher and entered the elevator about two minutes after complainant J.K. had used
the elevator. Cadena observed J.K. and assaulted her with the fire extinguisher. Cadena
then entered complainant J.K.’s vehicle without her permission and drove it around in the
parking lot. J.K.’s purse and cell phone were inside the vehicle. Cadena wrecked

complainant J.K.’s vehicle on the second floor of the parking garage. X.H., who works as

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a security officer for the Statler, responded to the scene and observed Cadena inside
J.K.’s vehicle. X.H. removed Cadena from J.K.’s vehicle for his safety. Dallas Fire
Department responded to the location. J.K. was found unconscious and transported to
Baylor Hospital for medical treatment. J.K. suffered severe bruising and swelling to her
face and head. J.K. also suffered nerve damage to her arms and legs due to result of the
severe beating. The Dallas Police Department (DPD) obtained video surveillance from
Statler that shows Cadena with the fire extinguisher and walking through the parking

garage. The following photographs depict the victim’s serious bodily injury:

 

The 2015 Toyota Carolla, bearing vehicle identification number (VIN)
SYFBURHE2FP244863 and Texas license plate number KKH2772, that Cadena took
from the victim during the carjacking was manufactured and assembled in Blue Springs,
Mississippi and shipped to Texas for sale. Thus, this motor vehicle had been transported,

shipped, and received in interstate and foreign commerce.

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CONCLUSION
Based on the facts set forth above, there is probable cause to believe that on or
about September 21, 2019, in the Dallas Division of the Northern District of Texas,
David Cadena carjacked J.K., which resulted in serious bodily injury to J.K., in violation
of 18 U.S.C. § 2119(2), and I request that the Court issue a warrant for his arrest for this

offense.

Respectfully submitted,

DANIEL GIMENEZ
Special Agent, FBI

Subscribed to and sworn to before me on the day of November 2019.

AA Q_

REBECCA R@PHERFORD
United States Magistrate Judge
Northern District of Texas

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